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           Exhibit “A”
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                           UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                         :
EDWELL HENRY II,                                         :
                                                         :
                Plaintiff,                               :   CIVIL ACTION NO. 2:22-cv-04614
                                                         :
        v.                                               :
                                                         :
UNITED LUTHERAN SEMINARY AND                             :
DR. R. GUY ERWIN,                                        :
                                                         :
                Defendants.                              :
                                                         :
                                                         :


                                     INITIAL DISCLOSURES


         Plaintiff, Edwell Henry II, by and through his attorney, Seth D. Carson, respectfully
 submits these initial discovery disclosures pursuant to Rule 26(a) et. seq. of the Federal Rules of
 Civil Procedure.

         A.      The name and, if known, the address and telephone number of each individual
 likely to have discoverable information that the disclosing party may use to support her claims
 and defenses, unless solely for impeachment, identifying the subjects of the information.

         Where the Address is not listed, Plaintiff does not know the address of the individual, but
 this information should be in the possession of the Defendants.

    •    Edwell Henry II                Plaintiff
         Plaintiff has knowledge of all the claims in his Complaint.
         Plaintiff resides at 706B Sedgefield Drive, Mount Laurel, New Jersey 08054. Plaintiff’s
         direct dial phone number is 856.206.9750.


    •    Dr. R. Guy Erwin                Defendant
         This individual is identified in the civil action complaint including job title. This
         individual has knowledge related to allegations contained in Plaintiff’s civil action
         complaint. This individual was involved in Plaintiff’s termination. Defendants are in
         possession of this individual’s contact information.


    •    Jackie King                   Witness – Human Resources Contractor
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    This individual is identified in the civil action complaint including job title. This
    individual has knowledge related to allegations contained in Plaintiff’s civil action
    complaint. This individual was involved in the allegations that Plaintiff claims led to
    Plaintiff’s termination. Defendants are in possession of this individual’s contact
    information.


•   Rhonda Schupp                   Witness – Employee in Defendant’s Payroll Dept.
    This individual is identified in the civil action complaint including job title. This
    individual has knowledge related to allegations contained in Plaintiff’s civil action
    complaint. Defendants are in possession of this individual’s contact information.

•   Buff Carlson                    Witness – Employee – Chief Financial Officer
    This individual is identified in the civil action complaint including job title. This
    individual has knowledge related to allegations contained in Plaintiff’s civil action
    complaint. Defendants are in possession of this individual’s contact information.

•   Human Resources Coordinator           Witness – Employee of Defendant
    Plaintiff worked with the Human Resources Coordinator. Plaintiff cannot recall her
    name. Plaintiff can provide the falling characteristics to assist in identification. The
    Human Resources Coordinator began her employment after Plaintiff assumed the
    position of Director of Human Resources. Plaintiff interviewed and hired the Human
    Resources Coordinator. She was an African American female. This individual has
    knowledge related to allegations contained in Plaintiff’s civil action complaint.
    Defendants are in possession of this individual’s contact information.

•   Human Resources Assistant                Witness – Employee of Defendant
    Plaintiff worked with the Human Resources Assistant who was a contractor and paid
    through a 1099. Plaintiff cannot recall his name. Plaintiff can provide the falling
    characteristics to assist in identification. The Human Resources Assistant began his
    employment after Plaintiff was promoted from Director of Human Resources to Vice
    President of Human Resources and Diversity Equity and Inclusion. Plaintiff interviewed
    and hired the Human Resources Assistant. He was an African American male. This
    individual has knowledge related to allegations contained in Plaintiff’s civil action
    complaint. Defendants are in possession of this individual’s contact information.


•   Ms. Lin Jackson                      Witness – Employee of Defendant
    This individual was a full-time employee in the office of Contextual Formation. This
    This individual has knowledge related to allegations contained in Plaintiff’s civil action
    complaint. Defendants are in possession of this individual’s contact information.




•   Brad Kushner                          Counsel for Defendant
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    This This individual has knowledge related to direct communications with Plaintiff and
    Plaintiff’s protected activity. Defendants are in possession of this individuals contact
    information.

•   Theresa Zechman                       Counsel for Defendant
    This This individual has knowledge related to direct communications with Plaintiff and
    Plaintiff’s protected activity. Defendants are in possession of this individuals contact
    information.


•   Dr. Wayne Croft                      Witness – Employee of Defendant
    This This individual has knowledge related to allegations contained in Plaintiff’s civil
    action complaint. Defendants are in possession of this individual’s contact information.

•   Dr. Richard Green                     Witness – Former Employee of Defendant
    Dr;. Richard Green was the Interim President of the school. This This individual has
    knowledge related to allegations contained in Plaintiff’s civil action complaint.
    Defendants are in possession of this individual’s contact information.

•   Angela Zimmann                       Witness – Interim President after Dr. Green
    This This individual has knowledge related to allegations contained in Plaintiff’s civil
    action complaint. Defendants are in possession of this individual’s contact information.

•   Dennis Trotter               Witness – Vice President and Chief Operating Officer
    This This individual has knowledge related to allegations contained in Plaintiff’s civil
    action complaint. Defendants are in possession of this individual’s contact information.

•   Christina (Trina) Trotter Witness – Former Vice President of Student Affairs
    This This individual has knowledge related to allegations contained in Plaintiff’s civil
    action complaint. Defendants are in possession of this individual’s contact information.

•   Marcia L. Williams                   Witness – Former Student
    This This individual has knowledge related to allegations contained in Plaintiff’s civil
    action complaint. Defendants are in possession of this individual’s contact information.

•   W Rodger Randolph III - Former Student and President of the Student Body
    This This individual has knowledge related to allegations contained in Plaintiff’s civil
    action complaint. Defendants are in possession of this individual’s contact information.

•   Dr. Quinton Robinson - Witness – Current Director of Urban Theological Institute
    This This individual has knowledge related to allegations contained in Plaintiff’s civil
    action complaint. Defendants are in possession of this individual’s contact information.
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•   Dr. Karyn Wiseman                    Witness – Associate Professor
    This This individual has knowledge related to allegations contained in Plaintiff’s civil
    action complaint. Defendants are in possession of this individual’s contact information.

•   Dr. J. Jayakiran Sabastian           Witness – Current Dean
    This This individual has knowledge related to allegations contained in Plaintiff’s civil
    action complaint. Defendants are in possession of this individual’s contact information.


•   Dr. Charles Leonard                  Witness – Director of Contextual Formation
    This This individual has knowledge related to allegations contained in Plaintiff’s civil
    action complaint. Defendants are in possession of this individual’s contact information.


•   Dr. Tommy                            Witness – Board Member
    This This individual has knowledge related to allegations contained in Plaintiff’s civil
    action complaint. Defendants are in possession of this individual’s contact information.


•   Dr. Martin Zimmann - Executive Director of the Stewardship of Life Institute
    This This individual has knowledge related to allegations contained in Plaintiff’s civil
    action complaint. Defendants are in possession of this individual’s contact information.

•   Dr. Peter Boehringer                 Witness – Board Chair
    This This individual has knowledge related to allegations contained in Plaintiff’s civil
    action complaint. Defendants are in possession of this individual’s contact information.

•   Dr. Peter Boehringer                 Witness – Board Chair
    This This individual has knowledge related to allegations contained in Plaintiff’s civil
    action complaint. Defendants are in possession of this individual’s contact information.


•   EXPERT WITNESS                             EMOTIONAL DISTRESS
    Plaintiff intends to call an expert at trial to provide testimony related to the extent of
    Plaintiff compensatory damages and claim for emotional distress caused by Defendant’s
    illegal conduct. Plaintiff will provide the curriculum vitae (“CV”) for any and all experts
    Plaintiff calls upon to testify at trial including the CV for the expert Plaintiff will use
    related to Plaintiff’s claim for emotional damages.

•   EXPERT WITNESS                   EMOTIONAL DISTRESS (PHYSICAL EFFECTS)
    Plaintiff intends to call an expert at trial to provide testimony related to the extent of
    Plaintiff emotional damages. Plaintiff will provide the curriculum vitae (“CV”) for any
    and all experts Plaintiff calls upon to testify at trial including the CV for the expert
    Plaintiff will use related to Plaintiff’s claim for emotional damages. Plaintiff plans to call
    Dr. Mark Richardson who will provide testify on Plaintiff’s behalf in connection with
    Plaintiff’s claims for emotional distress.
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   •   EXPERT WITNESS                  EXPERT AS TO LIABILITY
       Plaintiff intends to call an expert at trial to provide testimony related to Plaintiff’s claims
       to prove Defendant’s violated Plaintiff’s rights and the laws contained in Plaintiff’s civil
       action complaint. Plaintiff will provide the curriculum vitae (“CV”) for any and all
       experts Plaintiff calls upon to testify at trial including the CV for the expert Plaintiff
       intends to call upon to testify that Defendant’s disregarded the applicable laws.

   •   EXPERT WITNESS                    DAMAGES – ECONOMIC LOSSES
       Plaintiff intends to call an expert at trial to provide testimony related to Plaintiff damages
       claim. Plaintiff will provide the curriculum vitae (“CV”) for any and all experts Plaintiff
       calls upon to testify at trial including the CV for the expert Plaintiff intends to call upon
       to testify regarding Plaintiff’s economic losses.


        B.      A copy of, or a description by category and location of, all documents,
electronically stored information, and tangible things that are in the possession, custody, or
control of the party and that the disclosing party may use to support its claims or defenses, unless
solely for impeachment:

   •   All pleadings on file with the Court and/or exchanged between parties in this action.
   •   All discovery which has or will be produced by Plaintiff and Defendants in this action.
   •   Plaintiff’s expert psychological report.
   •   Plaintiff’s expert report regarding liability.
   •   Plaintiff’s expert report regarding economic losses.
   •   Plaintiff’s expert report regarding Defendants violations of state and federal laws.
   •   Plaintiff’s expert report as to physical injuries caused by Defendants.
   •   Plaintiff’s documentation related to the exhaustion of administrative remedies.
   •   Emails and text messages exchanged between Plaintiff and/or the individuals named
       above.
   •   Photographic evidence.
   •   Video evidence.
   •   Documentation of events that took place during Plaintiff’s employment for Defendants.
   •   Plaintiff’s evidence regarding mitigation of damages, job search and subsequent
       employment.
   •   All communications connected to Plaintiff’s employment and the allegations in the civil
       action Complaint and Answer.
   •   Plaintiff reserves the right to supplement and/or amend this response as additional
       information becomes available and as may be appropriate and necessary.
   •   All meeting Minutes and notes from Board meetings and meetings held during Plaintiff’s
       employment for Defendant.
   •   All documents related to Plaintiff’s protected activity including investigation notes,
       communications including correspondence and electronic communications, and reports
       and conclusions.
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   •   All FMLA paperwork and documents from Plaintiff’s personnel file.


       C.       A computation of any category of damages claimed by the disclosing party,
making available for inspection and copying as under Rule 34 the documents or other evidentiary
material, not privileged or protected from disclosure, on which such computation is based,
including materials bearing on the nature and extent of injuries suffered.

AT THIS EARLY JUNCTURE, PLAINTIFF IS CLAIMING THE FOLLOWING
DAMAGES:

Plaintiff has suffered damages as a result of the wrongful termination.


Past Wage Loss:               $ TBD


Future Wage Loss:             $ TBD


Compensatory Damages          $2,000,000.00.


Punitive Damages: In the event this matter proceeds to trial, Plaintiff will seek the maximum
available award of punitive damages allowable the Pennsylvania Human Relations Act.


Punitive Damages:             $3,000,000.00

Plaintiff claims attorney’s fees upon a successful verdict under Title VII and Pennsylvania
Administrative Code.

   •   Plaintiff reserves the right to supplement/amend this response as more information
       becomes available and as may be appropriate and necessary.

         D.      For inspection and copying as under Rule 34 any insurance agreement under
which any person carrying on an insurance business may be liable to satisfy part or all of a
judgement which may be entered in the action or to indemnify or reimburse for payments made
to satisfy the judgement.

N/A.
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                                   DEREK SMITH LAW GROUP, PLLC


                               BY:__/s/_Seth D. Carson___________________
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DATED: March 1, 2023
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                                 CERTIFICATE OF SERVICE


       I hereby certify that on this date that I caused a true and correct copy of Plaintiff’s

Initial Disclosures were sent to the below parties by email.

                            Brad M. Kushner, Esq.
                            Alexander V. Batoff, Esq.
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                            Erwin


                                              DEREK SMITH LAW GROUP, PLLC


                                         BY:__/s/_Seth D. Carson___________________
                                                 SETH D. CARSON, Esquire




DATED: March 1, 2023
